          Case
          Case 1:19-cv-05244-AKH Document28
               1:19-cv-05244-AKH Document 31 Filed
                                              Filed10/29/19
                                                    10/31/19 Page
                                                              Page1 1ofof1212




                               UNITED STATES DISTRICT COURT
                              SOUTHERN DISTRICT OF NEW YORK
-------------------------------------- :x
U.S. SECURITIES AND EXCHANGE
COMMISSION,

                    Plaintiff,

        vs.

KIK INTERACTIVE INC.,

                    Defendant.




                       ELECTRONICALLY STORED INFORMATION

ALVINK. HELLERSTEIN, U.S.D.J.:

        WHEREAS, Plaintiff U.S. Securities & Exchange Commission (the "Commis ioh") and

Defendant Kik Interactive, Inc. ("Kik") (each a "Party" and collectively the "Parties") r quest that

this Court issue a protective order pursuant to Federal Rule of Civil Procedure 26(c) to rotect the

confidentiality ofnonpublic and competitively sensitive information that they may need o disclose

in connection with discovery in this action; and

        WHEREAS; the Parties have conferred in gogd faith and have agreed upon th terms of

this Stipulated Protective Order; and

        WHEREAS, this Court finds good cause exists for issuance of an appropriate y tailored

confidentiality order governing the pretrial phase of this action;

        IT IS HEREBY ORDERED that any person subject to this Order - includi g without

limitations the Parties to this action, their (including their respective corporate affiliate , parents,

successors, and assigns), their partners, representatives, agents, Experts and consultant , all third
               Case
               Case 1:19-cv-05244-AKH Document28
                    1:19-cv-05244-AKH Document 31 Filed
                                                   Filed10/29/19
                                                         10/31/19 Page
                                                                   Page2 2ofofi212




parties providing discovery in this action, and all other interested persons w1                 actual or

constructive notice of this Order - will adhere to the following terms, upon pain of co tempt:

I.        PROTECTIVE ORDER

          A.        Definitions

          1.        "Expert" shall mean a person with specialized knowledge or experience in a matter

pertinent to the litigation who has been retained by a Party or its counsel to serve a an expert

witness or as a cohsUitant in Uiis action, as well as the expert Witness's or consiilfaht's assistants,

support staff, and agents.

          2.        "Party" shall mean any party to this action, including all of its officers directors,

employees, consultants, retained experts, and Counsel of Record (and their support sta fs).

          3.        "Protected Information," as used herein, means any information of any        e, kind,

or character that is designated as "CONFIDENTIAL" or "HIGHLY CONFIDENTIAL' by any of

the supplying or receiving Parties, whether it be a document, information contained in a

information revealed during a deposition, information revealed in an interrogatory

otherwise. Protected Information shall only be used for purposes of the litigation. In

information as CONFIDENTIAL or HIGHLY CONFIDENTIAL, a Party will

designation only as to information .that it in good faith believes contains Protected In ormation.

Information or material which is available to the public shall not be protected.

          4.        ''Producing Party" or "Designating Party" shall mean a Party to this actio or a third

party (including counsel for the Party or third party) who requests the protections provi ed by this

Order, and who is producing Protected Information pursuant to any discovery request, ubpoena,

or otherwise.

       5.          "Professional Vendors" shall mean persons or entities that provide litigation

support        services (e.g.,    photocopying,   videotaping,   transfating,   preparing ex ibits    or

                                                     2
              Case
              Case 1:19-cv-05244-AKH Document28
                   1:19-cv-05244-AKH Document 31 Filed
                                                  Filed10/29/19
                                                        10/31/19 Page        I 12
                                                                  Page3 3ofof12




demonstrations, and organizing, storing, or retrieving data in any form or medium and their

employees and subcontractors.

         6.        "Receiving Party" or "Non-Designating Party" shall mean the Party        ho is the

recipient of Protected Information supplied by the Producing Party or Designating P

         7.        "Counsel of Record" shail mean the undersigned counsel who have ex cuted this

Order.

         B.        Scope

         The protections conferred by this Stipulation and Order cover not only Protect d Material

(as defined above), but also (I) any information copied or extracted from Protected        terial; (2)

all copies, excerpts, summaries, or compilations of Protected Material; and (3) any estimony,

conversations, or presentations by Parties or their Counsel that might reveal Protect      Material.

However, the protections conferred by this Stipulation and Order do not cover the following

information: any information that is in the public domain at the time of disclosure to a Receiving

Party or becomes part of the public domain after its disclosure to a Receiving Party as a result of

publication not involving a violation of this Order, including becoming part of the pu lie record

through trial or otherwise.




         8.       Any Protected Information may be designated by the Producing Party or

Designating Party and marked CONFIDENTIAL or HIGHLY CONFIDENTIAL at t e time of

production or disclosure. Protected Information as used in this Order shall refer to the o iginal and

copies of any so designated documents, testimon.y or other discovery material. All not , extracts

and summaries of materials marked CONFIDENTIAL or HIGHLY CONFIDENTIA shall be

considered Protected Information and be subject to the terms of this Order.


                                                 3
         Case
         Case 1:19-cv-05244-AKH Document28
              1:19-cv-05244-AKH Document 31 Filed
                                             Filed10/29/19
                                                   10/31/19 Page
                                                             Page4 4ofof 212




                (a)     Material designated as CONFIDENTIAL is material which h snot been

made public and which concerns or relates to the proprietary or sensitive information sed by the

Producing Party in, or pertaining to, their business, which is not generally known and would not

normally be revealed to third parties without an agreement to maintain it in confiden e, or other

information the disclosure of which would, in the good faith judgment of the party desi nating the

material as confidential, be detfifuental to the coiidtict of that PaftY's Business.

                (b)     Material designated as HIGHLY CONFIDENTIAL is material for which

( 1) at the time of the designation contains or constitutes trade secrets or highly c nfidential

business or financial information, (2) there is a substantial risk that, absent such a desi nation, its

receipt by the public or non-parties to the litigation could cause competitive and/or econ mic harm

to the Producing Party, and (3) such materials would not otherwise be adequately prote ted under

the procedures set forth herein for CONFIDENTIAL information.

        9.     Documents. To designate documents, including the papers served an, or filed in

this action, as Protected Information, the designating party must place or affix on each esignated

page of such material one of the following markings prior to its production: CONFID          TIAL or

HIGHLY CONFIDENTIAL (or in the case of electronic versions of spreadsheets and other

documents, such designation may be made on the physical media (e.g., CD) conta irrg such

electronic version).

       10.     Written Discovery Responses. For interrogatory answers and res onses to

requests for admissions, counsel for the Producing Party will place a statement in the nswers or

responses specifying that the answers or responses, or specific parts thereof, con ain either

Confidential Information or Highly Confidential Information. In addition, couns 1 for the

Producing Party will place the applicable "CONFIDENTIAL" or "HIGHLY CONFID NTIAL"



                                                  4
         Case
         Case 1:19-cv-05244-AKH Document28
              1:19-cv-05244-AKH Document 31 Filed
                                             Filed10/29/19
                                                   10/31/19 Page
                                                             Page5 5ofof 212




legend on the front page and each applicable subsequent page of any set of answers o responses

containing Protected Information.

        11.     Depositions.    Parties   may    identify   as   CONFIDENTIAL          or    HIGHLY

CONFIDENTIAL specific portions of deposition transcripts and video that it belie             s in good

faith constitute Protected Information. If the non-designating party believes that any di closure of

information at the deposition sholild riot be treated as Protected lftfoimation, the party   ay object

to the designation pursuant to the process set forth in paragraphs 20-22.

        D.     Disclosure of Protected Information

        12.    Any Protected Information designated HIGHLY CONFIDENTIAL s all not be

disclosed, in whole or in part, to any person or entity other than the following:

               {a)     Counsel of Record for the Parties, including, but not limited to, l wyers and

support staff as reasonably necessary for the prosecution of the case;

               (b)     In-house counsel for Kik, Eileen Lyori, provided that she agree ih writing

to abide and be bound by the terms of this Protective Order by executing the Ackno           edgement

of Non-Disclosure attached hereto as Exhibit A;

               (c)     Non-Party Experts or other litigation support personnel who ar expressly

engaged by Counsel of Record to provide Expert testimony or to assist in discov ry and/or

preparation for trial, with disclosuf€ only to the extent neGessary to perform such          ork, and

provided such person has agreed in writing to abide and be bound by the terms of this Protective

Order by executing the Acknowledgement of Non-Disclosure attached hereto as Exhib t A;

               (d)     The Court and Court reporters employed in connection with t is action,

including, outside stenographic court reporters, videographic court reporters, and language

translators (including support staff as reasonably necessary);

               (e)     Professional Vendors to whom disclosure is reasonably necess           for this

                                                 5
            Case 1:19-cv-05244-AKH Document
            Case 1:19-cv-05244-AKH Document28
                                            31 Filed
                                                Filed10/29/19
                                                      10/31/19 Page
                                                                Page6 6
                                                                      ofof1212



litigation;

                (f)     Employees of an independent commercial service providin               copying,

coding, digitizing and/or trial support services at the direction of Counsel of Record;

                (g)     The Chief Executive Officer of Kik, provided that he agrees in writing to

abide and be bound by the terms of this Protective Order by executing the undertaki

liereto as Exhibit A;

                (h)     Any author or recipient of the Protected Information as s ecifically

reflected on the face of the instrument;

                (i)     Any mediator or arbitrator that the Parties engage in this matter r that this

Court appoints;

                (j)     Any other person as to whom the Designating Party consents in         iting; and

      (k)       Witnesses at deposition or trial, but only in connection with preparati n for and

during the course or his or her deposition or trial testimony, provided that person ha agreed in

writing to abide and be bound by the terms of this Protective Order by exe uting the

Acknowledgement of Non-Disclosure attached hereto as Exhibit A.

        13.     Any Protected Information designated CONFIDENTIAL shall not bed' closed, in

whole or in part, to any person or entity other than the following:

                (a)     Anyone who qualifies for disclosure of Protected Information esignated

HIGHLY CONFIDENTIAL pursuant to paragraph 9 above; and

                (b)     The Parties, and their officers, directors, employees, atto eys and

consultants, to the extent necessary to assist in the prosecution or defense of claims asse

litigation.

        14.     Notwithstanding any provisions contained herein, nothing in this Order hall limit



                                                  6
                                                                         II
           Case 1:19-cv-05244-AKH Document
           Case 1:19-cv-05244-AKH Document28
                                           31 Filed
                                               Filed10/29/19
                                                     10/31/19 Page
                                                               Page7 7
                                                                     ofof
                                                                        1212



the right of the SEC to make Routine Uses ofinformation as set forth in SEC Forms 1

1662.

          15.   In the event of any disclosure of Protected Information other than in t e manner

authorized by this Order, counsel for the Party responsible for the disclosure shall i mediately

notify counsel for the Producing Party of the facts and circumstances of such disclosure including

the identity of the unauthorized recipierit(s) arid the specific irifonnation disclos. d   to   such

person(s), and shall make every effort to prevent further unauthorized disclosure by, a ong other

things, retrieving all such disclosed material and copies of such materials and making ood faith

efforts to have all unauthorized persons to whom disclosure was made agree in writi g to abide

and be bound by the terms of this Protective Order.

          E.    Inadvertent Disclosure of Protected Information

          16.   In the event that a Producing Party mistakenly or inadvertently fails t stamp or

otherwise designate a document or other information as Protected Information at the ime of its

production, it may be corrected by written notification to counsel for the Receiving P     , and the

Receiving Party shall mark the document or information in the manner requested by the roducing

Party and thereafter treat the document or information in accordance with such markin

          F.    Filing of Protected Information Under Seal

          17.   All information subject to the provisions of this Protective Order, including

deposition transcripts and papers filed or lodged with the Court, shall be designated a Protected

Information and filed under seal upon motion compliant with this Judge Hellerstein's ndividual

Rule 4.

          G.    Use of Protected Information

          18.   Persons receiving Protected Information under this Order shall not (1)   ake such

Protected Information public; (2) use such Protected Information for any purpose oth r than for

                                                7
         Case 1:19-cv-05244-AKH Document
                                Document28
                                         31 Filed
                                             Filed10/29/19
                                                   10/31/19 Page
                                                             Page    I
         Case 1:19-cv-05244-AKH                                  88
                                                                  ofof212



this action; (3) disseminate Protected Information beyond the extent necessary for this ction; and

(4) disclose such Protected Information to any person not specified in paragraphs 12 or 13 hereof,

as applicable, without prior written consent of the Designating Party or further order of his Court.

Counsel of Record in this action and the parties hereto shall take reasonable steps n cessary to

maintain such Protected Information in confidence and prevent persons from using, dis losing, or

recording the Protected Infohliation for ahY other purpose.

        19.     The restrictions set forth in this Order shall no longer apply to C nfidential

Information which subsequently becomes public knowledge, unless in violation of                 is Order.

Additionally, the restrictions set forth in this Order do not apply to a Producing Party' use of its

own Confidential Information.

        H.      Challenging Confidentiality Designations

        20.     A Party does not waive its right to challenge a confidentiality desi            ation by

electing not to mount a cliallenge promptly after the original designation is disclosed.

        21.     A Party that elects to challenge to a Designating Party's confidentiality

must do so in good faith and must begin the process by conferring directly with cou sel for the

Designating Party. In conferring, the challenging Party must explain in writing, an for each

individual designation and with specificity the basis for its belief that the con

designation was not proper. The Designating Party must respond in writing within seven (7)

business days that it will either revise the confidentiality designation or, if not, to exp1a··· the basis

for the chosen designation. A Designat1ng Party's failure to respond within the time permitted

constitutes a waiver of the designation.

        22.     A Party that elects to press a challenge to a confidentiality design tion after

considering the justification offered by the designating Party shall follow the procedur s set forth

in Judge Hellerstein's Individual Rule (2)(E) to obtain relief. The burden of pr ving that

                                                    8
            Case 1:19-cv-05244-AKH
            Case 1:19-cv-05244-AKH Document
                                    Document28
                                             31 Filed
                                                 Filed10/29/19
                                                       10/31/19 Page
                                                                 Page  9 of!212
                                                                     9 of




information is properly designated shall be on the Designating Party. Until the Court r les on the

challenge, all Parties shall continue to afford the material in question' the level of pr tection to

which it is entitled under the Producing Party's designation.

       I.       Reservation of Rights

       23.      Nothing herein shall be construed to limit in any way a Party's use

Protected Information.

       24.      This Order is intended to provide a mechanism for the handling o

Information where there is no objection to its disclosure or production other than on

confidentiality. Each Party reserves the right to object to any disclosure of info          ation or

production of any documents it deems Protected Information on any other ground it

appropriate.

       25.      Any Party may move for relief from, or modification of, the mec anism for

maintaining confidentiality herein set forth or the application of this Order, in any particular

circumstance.

       26.      Nothing in this Order shall preclude any Party to this action, its attom ys, or any

other person from disclosing or using, in any manner or for any purpose, any info           ation or

materials not obtained in discovery in this lawsuit, even though the same information o

may have been produced in discovery in this lawsuit and designated as Protected Info        ation, if

that information or matetial:

                (a)      Was, is, or becomes public knowledge, not in violation of this O der;

                (b)      Is acquired by the Non-Designating Party from a third party havi g the right

to disclose such information or material.

       J.       Duration

       27.      This Order regulates the handling of Protected Information during the p ndency of

                                                  9
         Case 1:19-cv-05244-AKH Document 31 Filed 10/31/19 Page 10 of 12
         Case 1:19-cv-05244-AKH Document 28 Filed 10/29/19 Page 10 of 2




this action, including all appeals, and shall remain in full force and effect until modified,

superseded or terminated on the record by written stipulation of the parties or by O der of the

Court.

         K.    Privilege

         28.   Pursuant to Fed. R. Evid. 502(d), the production or disclosure of a             material

subject to work-product privilege, the attorney-client privilege, or other legal privilege protecting

information from discovery, whether inadvertent or otherwise, is not a waiver of p ivilege or

protection from discovery in this case or in any other federal or state proceeding. This      rder shall

be interpreted to provide the maximum protection allowed by Federal Rule of Evide ce 502(d).

For the avoidance of doubt, the Parties will not conduct any inquiry into the factors liste in Federal

Rule of Evidence 502(b) or any other factors to analyze the circumstances leading to the roduction

of information subject to a claim of protection. Nothing contained herein is intended to or shall

serve to limit a party's right to conduct a review of documents, ESI or information for relevance,

responsiveness and/or segregation of privilege and/or protected information before pro uction.

               (a)     With respect to such disclosed materials, the producing party m st provide

written notice to any other parties of the discovery that the production or disclosu e of such

materials has been made. After being notified, the Receiving Party must within tej (10) days

return, sequester, or destroy the specified information and any ropies it has; must fot use or '

disclose the inforrnation until the claim is resolved; and tnust take reasonable steps to   rl trieve the
information if the Receiving Party disclosed it before being notified.                                      j

               (b)     The party that produced or disclosed such information shall, with n fourteen         I
                                                                                                       I
(14) days after notifying the other parties of the production: provide a privilege log ide tifying the I

discovery material and the basis for the claim of privilege, and produce redacted vers Ions of the          I
materials at issue if only portions of the materials contain privileged subject matter.

                                                 10
       Case 1:19-cv-05244-AKH
       Case 1:19-cv-05244-AKH Document
                               Document2831 Filed
                                             Filed10/29/19
                                                   10/31/19 Page
                                                             Page1111
                                                                    of of212




       L.      Subpoenas and Non-Parties

       29.     The provisions of this Order shall be applicable and available to non- arties who

produce Protected Information in response to a subpoena, and who in good faith belie e that such

material contains Protected Information, if that non-Party requests the protection oft ls Order as

to its Confidential Information.

II.    ELECTRONICALLY STORED INFORMATION

       30.     The parties further agree that   fo1:   all docfuiient productions   after the   ate of this

Order, the parties will follow the SEC's Data Delivery Standards, as revised in Au              st 2017, a

copy of which is attached as Exhibit B to this Order.




                                                       11
                                                                                     I
      Case
       Case1:19-cv-05244-AKH
             1:19-cv-05244-AKH Document
                                Document31
                                         28 Filed
                                            Filed 10/31/19
                                                  10/29/19 Page 12 9~
                                                           Page 12 of 12
                                                                      12
                                                                                     I




                                                 By: /s/ Patrick E. Gibbs
                                                    Patrick E. Gibbs (Pro Hae Vice)
                                                    Luke T. Cadigan (Pro Hae Vice)
                                                    Sarah M. Lightdale (4395661)
  U.S. Securities and Exchange Commission           Brett H. De Jarnette (Pro Hae Vic )
  100 F Street, N.E.
  Washington, D.C. 20549-5971                       Cooley LLP
  202.55 I .4935 (Schlegelmilch)                    3175 Hanover Street
  30 I .623 .1184 (facsimile)                       Palo Alto, CA 94304-i 130
  SchlegelmilchS@SEC.gov                            Phone: (650) 843-5000
  Attorney for Plaintiff                            Fax: (650) 849-7400
  U.S. SECURITIES AND EXCHANGE                      Email: pgibbs@cooley.com;
  COMMISSION                                        1cadigan@cooley.com;
                                                    slightciale@cooley.coth;
                                                    bdejarnette@coo ley .com

                                                    Attome;ys for Defendant
                                                    KIK INTERACTIVE INC.

                                                    Kenneth R. Lench (Pro Hae Vice
                                                   fortlicomirig)

                                                    Kirkland & Ellis LLP
                                                    655 Fifteenth Street, N.W.
                                                    Washington, D.C. 20005-5793
                                                    Phone: (202) 879-5270
                                                    kenneth.lench@kirkland.com

                                                    Attorney for Defendant
                                                    KIK INTERACTIVE INC.



SO ORDERED.




                                            12
